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 4
                                UNITED STATES DISTRICT COURT
 5
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6

 7        EVERGREEN MONEYSOURCE
          MORTGAGE COMPANY,
 8
                                     Plaintiff,
                                                              C20-1532 TSZ
 9
                  v.
                                                              MINUTE ORDER
10
          CENLAR AGENCY INC.,
11
                                     Defendant.
12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:

14       (1)     Plaintiff’s Stipulated Motion for Withdrawals and Substitutions of
   Attorneys, docket no. 10, is GRANTED. Hecker Wakefield Feilberg, P.S. and James
15 Pleasants, P.C. are granted leave to withdraw, effective immediately.

16       (2)    Jordan M. Hecker of De Vrieze | Carney and John T. Yip of First Avenue
   Law Group PLLC are substituted as counsel of record for Plaintiff. The Clerk shall
17 update the docket accordingly.
            (3)        The Clerk is directed to send a copy of this Minute Order to all counsel of
18
     record.
19          Dated this 12th day of January, 2021.
20
                                                          William M. McCool
21                                                        Clerk

22                                                        s/Gail Glass
                                                          Deputy Clerk
23

     MINUTE ORDER - 1
